Case 2:18-mj-00228-CSC Document 1 Filed 10/04/18 Page 1 of 9

AO 106 (Rev. 04/10) Application for a Search Warrant

 

UNITED STATES DISTRICT COURT

for the
Middle District of Alabama

Case No. A. |&004 958 CL

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

A Moto cell phone (XT1767), labeled with IMEI:
353308089441695, currently located at USPIS, 135
Catoma Street, Montgomery, AL 36104.

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A.

located inthe _ District of , there is now concealed (identify the

 

person or describe the property to be seized):
See Attachment B.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
evidence of a crime;
@ contraband, fruits of crime, or other items illegally possessed;
& property designed for use, intended for use, or used in committing a crime;
© a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description

18 U.S.C. §§ 1708 & 371 Theft or receipt of stolen mail matter generally; and conspiracy to commit offense
or to defraud United States.

The application is based on these facts:

See Affidavit.
Continued on the attached sheet.
O Delayed notice of days (give exact ending date if moré : _ ) is requested

  

 

Applicant's sighature
Christopher Phillips, Postal Inspector, USPIS

Printed name and title

 

Sworn to before me and signed in my presence. =) “e
wr
,
Date: 10/04/2018 rabies c a _ ; —
Judge's signature
City and state: Montgomery, AL Seenetei ____Charles S. Coody, United States Magistrate Judge

 

 

Printed name and title

 
Case 2:18-mj-00228-CSC Document 1 Filed 10/04/18 Page 2 of 9

AFFIDAVIT IN SUPPORT OF AN APPLICATION UNDER
RULE 41 FOR A WARRANT TO SEARCH AND SEIZE

I, Christopher Phillips, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

i; I am a federal law enforcement officer within the meaning of Federal Rule of
Criminal Procedure 41(a)(2)(C), that is, a government agent engaged in enforcing the criminal
laws and duly authorized by the Attorney General to request a search warrant. This request under
Rule 41 (a)(2)(C) of the Federal Rules of Criminal Procedure for a search warrant authorizes the
examination of property—an electronic device—which is currently in law enforcement
possession, and the extraction from that property of electronically stored information described in
Attachment B.

Z I have been a United States Postal Inspector since 2012. I am currently assigned to
the U.S. Postal Inspection Service Office in Montgomery, Alabama. I investigate incidents where
subjects steal, take, or abstract, or by fraud or deception obtain, or attempts so to obtain, from or
out of any mail, post office, or station thereof, letter box, mail receptacle, or any mail route or other
authorized depository for mail matter, or from a letter or mail carrier, any letter, postal card,
package, bag, or mail, or abstract or remove from any such letter, package, bag, or mail, any article
or thing contained therein, or secrete, embezzle, or destroy any such letter, postal card, package,
bag, or mail, or any article or thing contained therein, in violation of Title 18, United States Code,
Sections 1708 and 371. The following information has been obtained by me personally or has
been provided to me by other law enforcement officers and postal employees.

3: This affidavit is intended to show only that there is sufficient probable cause for the

requested warrant and does not set forth all of my knowledge about this matter.

 
Case 2:18-mj-00228-CSC Document 1 Filed 10/04/18 Page 3 of 9

IDENTIFICATION OF THE DEVICE TO BE EXAMINED

4. The property to be searched is a Moto cell phone (XT1767), labeled with IMEI:
353308089441695 (hereinafter “the Device’). The Device is currently located at the United States
Postal Inspection Service, 135 Catoma Street, Montgomery, Alabama 36104.

a. The applied-for warrant would authorize the forensic examination of the Device for
the purpose of identifying electronically stored data particularly described in Attachment B.

PROBABLE CAUSE

6. On August 7, 2018, Montgomery Police Department officers were dispatched to
Sonesta ES Suites Montgomery located at 1200 Hillmar Court, Montgomery, Alabama 36117, in
reference to the fraudulent use of a credit card. According to the front desk clerk, the business was
notified by a victim who reported their credit card was used at the location without authorization.
MPD officers approached the alleged suspect, Mitchell Worthy, in Room 1112. Worthy used a
fake ID and credit card to reserve Room 1112. Worthy consented to a search of the room and his
personal vehicle, a 2008 Nissan Altima. After searching Room 1112 and Worthy’s vehicle,
officers found multiple pieces of mail in various names, credit cards in various names, money
orders, checks, the personal identifying information of multiple people, computers and cell phones,
including a Moto cell phone (XT1767), labeled with IMEI: 353308089441695 (the Device).
Worthy was transported to Montgomery Police Department for questioning. After having Miranda
rights read to him, Worthy requested the presence of an attorney. MPD Officer Davis transferred
all evidence to Inspector C. L. Phillips.

Ve On August 10, 2018, Inspector C. L. Phillips met with L. A. C., a victim of identity
theft. Located in a notebook found in Worthy’s vehicle was the personal identifying information

and Firestone account information of L. A. C. Also found was a Firestone service receipt billed

 
Case 2:18-mj-00228-CSC Document1 Filed 10/04/18 Page 4 of 9

to L. A. C.’s credit account for service completed on a Nissan Altima. According to L. A. C.,
he/she does not own a Nissan Altima and he/she did not give any permission to use his/her
Firestone credit account. L. A. C. does not know anyone named Mitchell Worthy.

8. On or around August 13, 2018, Inspector C. L. Phillips met with management of
Express Employment Processionals, an employment agency located at 5729 Carmichael Pkwy,
Montgomery, Alabama 36117, concerning completed insurance enrollment forms for various
individuals found in Worthy’s personal possessions. According to agency management, the forms
include their name, date of birth, social security number, address, and phone numbers. They are
completed by newly hired individuals and then mailed, in multiples, to the corporate office by
agency management. Management would mail the collected forms in large business envelopes,
placing the envelopes in the mailbox located directly across the street from their building. Other
than USPS mail carriers, Express Employment Professional agency has not authorized anyone to
remove items from their business mailbox.

oS. On or around August 13, 2018, Inspector C. L. Phillips met with management of
Courtyard by Marriott located at 5555 Carmichael Rd., Montgomery, Alabama 36117, concerning
multiple Marriott employment applications for different individuals found in Worthy’s personal
possessions. Some of the information listed on applications included: names, dates of birth, social
security numbers, telephone numbers, and email addresses. Management was unsure how the
applications were obtained and reported that they are to remain in a locked file on site.
Management did not give anyone permission to remove any applications from the establishment.

10. The Device is currently in the lawful possession of the United States Postal

Inspection Service located at 135 Catoma Street, Montgomery, Alabama 36101. It came into the

 
Case 2:18-mj-00228-CSC Document1 Filed 10/04/18 Page 5 of 9

United States Postal Inspection Services’ possession in the following way: The Device was
transferred to this agency by Officer Davis, Montgomery Police Department.

In my training and experience, I know that the Device has been stored in a manner in which
its contents are, to the extent material to this investigation, in substantially the same state as they
were when the Device first came into the possession of the United States Postal Inspection Service.

TECHNICAL TERMS

11. Based on my training and experience, I use the term “wireless telephone” to convey
the following meaning: A wireless telephone (or mobile telephone, or cellular telephone) is a
handheld wireless device used for voice and data communication through radio signals. These
telephones send signals through networks of transmitters/receivers, enabling communication with
other wireless telephones or traditional “land line” telephones. A wireless telephone usually
contains a “call log,” which records the telephone number, date, and time of calls made to and
from the phone. In addition to enabling voice communications, wireless telephones offer a broad
range of capabilities. These capabilities include: storing names and phones numbers in electronic
“address books;” sending, receiving, and storing text messages and e-mail; taking, sending,
receiving, and storing still photographs and moving video; storing and playing back audio files;
storing dates, appointments, and other information on personal calendars; and accessing and
downloading information from the internet. Wireless telephones may also include global
positioning system (“GPS”) technology for determining the location of the device.

12. Based on my training, experience, and research, I know the Device has capabilities
that allow it to serve as a wireless telephone, digital camera, and GPS navigation device. In my
training and experience, examining data stored on devices of this type can uncover, among other

things, evidence that reveals or suggests who possessed or used the device.

 
Case 2:18-mj-00228-CSC Document1 Filed 10/04/18 Page 6 of 9

ELECTRONIC STORAGE AND FORENSIC ANALYSIS
13. Based on my knowledge, training, and experience, I know that electronic devices
can store information for long periods of time. Similarly, things that have been viewed via the
Internet are typically stored for some period of time on the device. This information can sometimes

be recovered with forensics tools.

14. Forensic evidence. As further described in Attachment B, this application seeks
permission to locate not only electronically stored information that might serve as direct evidence
of the crimes described on the warrant, but also forensic evidence that establishes how the Device
was used, the purpose of its use, who used it, and when. There is probable cause to believe that
this forensic electronic evidence might be on the Device because:

a. Data on the storage medium can provide evidence of a file that was once on the
storage medium but has since been deleted or edited, or of a deleted portion of a
file (such as a paragraph that has been deleted from a word processing file).

b. Forensic evidence on a device can also indicate who has used or controlled the
device. This “user attribution” evidence is analogous to the search for “indicia of
occupancy” while executing a search warrant at a residence.

c. A person with appropriate familiarity with how an electronic device works may,
after examining this forensic evidence in its proper context, be able to draw
conclusions about how electronic devices were used, the purpose of their use, who
used them and when.

d. The process of identifying the exact electronically stored information on a storage
medium that are necessary to draw an accurate conclusion is a dynamic process.
Electronic evidence is not always data that can be merely reviewed by a review
team and passed along to investigators. Whether data stored on a computer is
evidence may depend on other information stored on the computer and the
application of knowledge about how a computer behaves. Therefore, contextual
information necessary to understand other evidence also falls within the scope of
the warrant.

e: Further, in finding evidence of how a device was used, the purpose of its use, who
used it, and when, sometimes it is necessary to establish that a particular thing is
not present on a storage medium.

 
Case 2:18-mj-00228-CSC Document 1 Filed 10/04/18 Page 7 of 9

15. Nature of examination. Based on the foregoing and consistency with Rule
41(e)(2)(C), the warrant I am applying for would permit the examination of the Device consistent
with the warrant. The examination may require authorities to employ techniques, including, but
not limited to, computer-assisted scans, of the entire medium, that might expose many parts of the
Device to human inspection in order to determine whether it is evidence described by the warrant.

16. Manner of execution. Because this warrant does not involve the physical intrusion
onto a premises, I submit there is reasonable cause for the Court to authorize execution of the
warrant at any time in the day or night.

CONCLUSION
17. I submit that this affidavit supports probable cause for a search warrant authorizing

the examination of the Device described in Attachment A to seek the items described in

Ae
Mc

C. L. Phillips i
United States Postal Inspector

Attachment B.

Sworn to and subscribed before me this
4th day of October, 2018.

 

 

CHARLESS- COODY
UNITED STATES MAGISTRATE JUDGE

 
Case 2:18-mj-00228-CSC Document1 Filed 10/04/18 Page 8 of 9

ATTACHMENT A

DESCRIPTION OF LOCATION TO BE SEARCHED

The property to be search is:

L Moto cellular telephone, Model Number XT1767; FCC ID IHDTS56WC1; and
IMEI 35330808944169S, hereinafter referred to as the “Device.” The Device is currently located
at the United States Postal Inspection Service, 135 Catoma Street, Montgomery, Alabama 36101.

This warrant authorizes the forensic examination of the Device for the purpose of

identifying the electronically stored information described in Attachment B.

 
Case 2:18-mj-00228-CSC Document1 Filed 10/04/18 Page 9 of 9

ATTACHMENT B
DESCRIPTION OF ITEMS TO BE SEIZED

ls All records on the Device described in Attachment A that relates to violations of 18
U.S.C. §§ 1708 and 371 involve Mitchell Worthy. All stored electronics and wire communications
and information in memory on the mobile device, including email, instant messaging, text
messages, or other communications, contact lists, images, videos, travel records, information
related to the theft of U.S. Mails to include washed and or altered personal and business check
images, credit card information, personal identifying information and any other content or records
on the phone.

Evidence of user attribution showing who used or owned the Device at the time the things
described in this warrant were created, edited, or deleted, such as logs, phonebooks, saved

usernames and passwords, documents and browsing history.

 
